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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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CLAUDE REESE,
                                    Plaintiff,                              22 CIVIL 10494 (PMH)

                 -against-                                                      JUDGMENT

ROBERT WILLIAMSON,
STEVEN DRAPALA,
RICHARD BODNAR,
JUSTIN FRIEDLANDER,
CLIFFORD DONOVAN,
DANNY LAWRENCE,
JOSEPH BURNS,
ROBERT GARCIA,
MICHAEL PADGETT,
GLENROY RILEY and
ANDREW MILYKO,
                                    Defendants.
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        It is hereby ORDERED, ADJUDGED AND DECREED: That after a Jury

Trial before the Honorable Philip M. Halpern, United States District Judge, the jury having

returned a verdict in favor of Defendants, and the Complaint is hereby dismissed.


DATED: White Plains, New York
       August 22, 2024


                                                                              DANIEL ORTIZ
                                                                      _________________________
So Ordered:                                                                Acting Clerk of Court


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   U.S.D.J.                                                                     Deputy Clerk
